Case 2:17-cv-01322-RSM Document 104-2 Filed 08/28/18 Page 1 of 11




                EXHIBIT 2
  Case 2:17-cv-01322-RSM Document 104-2 Filed 08/28/18 Page 2 of 11
Trials@uspto.gov                                                Paper 7
571-272-7822                                   Entered: August 14, 2018




       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

                       BROOKS SPORTS, INC.,
                            Petitioner,

                                     v.

                      HERBERT E. TOWNSEND,
                           Patent Owner.
                          ____________

                         Case IPR2018-00577
                         Patent 7,490,416 B2
                           ____________



Before MEREDITH C. PETRAVICK, HYUN J. JUNG, and
SCOTT A. DANIELS, Administrative Patent Judges.

JUNG, Administrative Patent Judge.



                        SCHEDULING ORDER
                           37 C.F.R. § 42.5
  Case 2:17-cv-01322-RSM Document 104-2 Filed 08/28/18 Page 3 of 11
IPR2018-00577
Patent 7,490,416 B2

A. GENERAL INTRUCTIONS
      1. Request for an Initial Conference Call
      Unless at least one of the parties requests otherwise, we will not
conduct an initial conference call as described in the Office Patent Trial
Practice Guide, 77 Fed. Reg. 48,756, 48,765–66 (Aug. 14, 2012). The
parties must request an initial conference call if either party is aware of any
conflicts or concerns with DUE DATES 6 or 7 set forth in the Appendix of
this Scheduling Order. Any request for an initial conference call must be
made no later than 25 days after the institution of trial.
      2. Standing Procedure for Requests for Conference Calls
      If the parties request a conference call, including an initial conference
call, the parties must follow these procedures:
          a. Prior to requesting a conference call, the parties must confer in
             an effort to resolve any issue to be discussed with the Board, or
             be prepared to explain to the Board why such a conference was
             not possible.
          b. Parties may request a conference call by contacting the Board at
             the email address or telephone number listed above the caption
             of this Order. Requests via email are expected and preferred;
             requests via telephone should be reserved for time-critical
             circumstances. Requests by email must copy opposing counsel.
             Requests by telephone should include opposing counsel as
             practicable.
          c. The request must include a list of proposed issues and/or
             motions to be discussed during the call.


                                        2
  Case 2:17-cv-01322-RSM Document 104-2 Filed 08/28/18 Page 4 of 11
IPR2018-00577
Patent 7,490,416 B2

           d. The request may include a brief background discussion of the
              issue(s) and/or motion(s) to be discussed, but must not include
              arguments. Email correspondence between the parties and the
              Board is for administrative purposes only and is not a part of
              the record.
           e. The request must certify that the parties conferred in
              accordance with 2.a., and must indicate the result of the
              conference (e.g., whether the non-requesting party opposes or
              does not oppose the request).
           f. The request must include a list of dates and times when both
              parties are available for the call.
      3. Motions to Seal, Protective Orders, and Confidential Information
      Papers and exhibits filed with the Board are public unless designated
as confidential when filed. 37 C.F.R. § 42.14. Papers and exhibits may be
filed as confidential if filed with a motion to seal. Id. Those papers and
exhibits will remain under seal provisionally until the Board renders its
decision on the motion. Id. A motion to seal must include a proposed
protective order, or must refer to a protective order already approved in the
proceeding. 37 C.F.R. § 42.54(a). A protective order does not exist in this
proceeding unless the parties file one and the Board approves it. Board
approval typically does not occur until its decision on a motion to seal,
although the parties may request a conference call to seek approval prior to a
decision on a motion to seal if the particular circumstances of the case so
require.
      Often, a party moves to seal confidential or protective order material
of the opposing party. In this case, the opposing party is authorized to file a
                                         3
  Case 2:17-cv-01322-RSM Document 104-2 Filed 08/28/18 Page 5 of 11
IPR2018-00577
Patent 7,490,416 B2

response to the motion to seal to address why the motion to seal should be
granted. Such a response is due within 7 days of the filing of the motion to
seal and is subject to the same filing requirements (e.g., length, document
format) as the motion to seal.
      We encourage the parties to adopt the Board’s default protective order
if they conclude that a protective order is necessary. See Default Protective
Order, Office Patent Trial Practice Guide, 77 Fed. Reg. 48,756, App. B
(Aug. 14, 2012). If the parties choose to propose a protective order
deviating from the default protective order, they must submit the proposed
protective order jointly along with a marked-up comparison of the proposed
and default protective orders showing the differences; and the parties must
explain why the proposed deviations from the default protective order are
necessary.
      The Board has a strong interest in the public availability of the
proceedings. We advise the parties that redactions to documents filed in this
proceeding should be limited to isolated passages consisting entirely of
confidential information, and that the thrust of the underlying argument or
evidence must be clearly discernible from the redacted versions. We also
advise the parties that information subject to a protective order will likely
become public if identified in a final written decision in this proceeding, and
that a motion to expunge the information will not necessarily prevail over
the public interest in maintaining a complete and understandable file history.
See Office Patent Trial Practice Guide, 77 Fed. Reg. at 48,761.
      4. Motions to Amend
      Patent Owner may file a motion to amend without prior authorization
from the Board. Nevertheless, Patent Owner must confer with the Board
                                       4
  Case 2:17-cv-01322-RSM Document 104-2 Filed 08/28/18 Page 6 of 11
IPR2018-00577
Patent 7,490,416 B2

before filing such a motion by requesting a conference call under the
procedures set forth above. See 37 C.F.R. § 42.121(a). The conference call
must occur at least two weeks before DUE DATE 1 in order to satisfy the
conferral requirement. Guidance on motions to amend can be found online.
See “Guidance on Motions to Amend in view of Aqua Products” (Nov. 21,
2017) (https://www.uspto.gov/sites/default/files/documents/guidance_on_
motions_to_amend_11_2017.pdf); Western Digital Corp. v. SPEX Techs.,
Inc., Case IPR2018-00082, -00084 (PTAB Apr. 25, 2018) (Paper 13)
(Informative) (https://www.uspto.gov/patents-application-process/patent-
trial-and-appeal-board/precedential-informative-decisions).
      5. Discovery Disputes
      The panel encourages parties to resolve disputes relating to discovery
on their own and in accordance with the precepts set forth in 37 C.F.R.
§ 42.1(b). To the extent that a dispute arises between the parties requiring
Board intervention, the parties are to follow the procedures for requesting a
conference call set forth above. If a party has in its possession documents
that are subject to a protective order issued by a court in another proceeding,
that party should first request relief from that court.
      6. Depositions
      The parties are advised that the Testimony Guidelines appended
to the Office Patent Trial Practice Guide, 77 Fed. Reg. 48,756, 48,772
(Aug. 14, 2012) (Appendix D), apply to this proceeding. The Board may
impose an appropriate sanction for failure to adhere to the Testimony
Guidelines. 37 C.F.R. § 42.12. For example, reasonable expenses and
attorneys’ fees incurred by any party may be levied on a person who
impedes, delays, or frustrates the fair examination of a witness.
                                        5
  Case 2:17-cv-01322-RSM Document 104-2 Filed 08/28/18 Page 7 of 11
IPR2018-00577
Patent 7,490,416 B2

      Whenever a party submits a deposition transcript as an exhibit in this
proceeding, the submitting party shall file the full transcript of the deposition
rather than excerpts of only those portions being cited.
      7. Cross-Examination
      Except as the parties might otherwise agree, for each due date—
          a. Cross-examination begins after any supplemental evidence is
             due. 37 C.F.R. § 42.53(d)(2).
          b. Cross-examination ends no later than a week before the filing
             date for any paper in which the cross-examination testimony is
             expected to be used. Id.
      8. Observations on Cross-Examination
      Observations on cross-examination provide a party with a mechanism
to draw the Board’s attention to relevant cross-examination testimony of a
reply witness because no further substantive paper is permitted after the
reply. See Office Patent Trial Practice Guide, 77 Fed. Reg. 48,756, 48,768
(Aug. 14, 2012). The observations must be concise statements of the
relevance of precisely identified testimony to a precisely identified argument
or portion of an exhibit. Each observation should not exceed a single, short
paragraph. The opposing party may respond to the observations. Any
response must be equally concise and specific.
      9. Additional Formatting Requirements of Papers and Exhibits
      All papers and exhibits must include at least the proceeding number
and consecutive page numbers on each page. Citations to exhibits may be in
whatever manner the submitting party deems appropriate (i.e., stamped or
original pagination). Each page of an exhibit must also include the exhibit
number. The filing of complete documents and transcripts is encouraged,
                                        6
  Case 2:17-cv-01322-RSM Document 104-2 Filed 08/28/18 Page 8 of 11
IPR2018-00577
Patent 7,490,416 B2

rather than excerpts. Electronic documents filed with the Board should be
text searchable, to the extent feasible (e.g., having undergone optical
character recognition).
B. DUE DATES
      This Order sets due dates for the parties to take action after institution
of the proceeding. The parties may stipulate to different dates for DUE
DATES 1 through 5 (earlier or later, but no later than DUE DATE 6). A
notice of the stipulation, specifically identifying the changed due dates, must
be promptly filed. The parties may not stipulate to an extension of DUE
DATES 6 and 7. Due to scheduling constraints, such as hearing room
availability, the parties must request a conference call with the panel if
there are any conflicts that arise with DUE DATE 7 as soon as
practicable, which will be modified only upon a showing of good cause.
      In stipulating to different times, the parties should consider the effect
of the stipulation on times to object to evidence (37 C.F.R. § 42.64(b)(1)), to
supplement evidence (37 C.F.R. § 42.64(b)(2)), to conduct cross-
examination (37 C.F.R. § 42.53(d)(2)), and to draft papers depending on the
evidence and cross-examination testimony.
      1. DUE DATE 1
      The patent owner may file—
         a. A response to the petition (37 C.F.R. § 42.120), and
         b. A motion to amend the patent (37 C.F.R. § 42.121).
The patent owner must file any such response or motion to amend by DUE
DATE 1. If the patent owner elects not to file anything, the patent owner
must arrange a conference call with the parties and the Board. The patent


                                       7
  Case 2:17-cv-01322-RSM Document 104-2 Filed 08/28/18 Page 9 of 11
IPR2018-00577
Patent 7,490,416 B2

owner is cautioned that any arguments for patentability not raised in the
response will be deemed waived.
      2. DUE DATE 2
      The petitioner must file any reply to the patent owner’s response and
opposition to the motion to amend by DUE DATE 2.
      3. DUE DATE 3
      The patent owner must file any reply to the petitioner’s opposition to
patent owner’s motion to amend by DUE DATE 3.
      4. DUE DATE 4
          a. Each party must file any observations on the cross-examination
             testimony of a reply witness (see section A.7, above) by DUE
             DATE 4.
          b. Each party must file any motion to exclude evidence (37 C.F.R
             § 42.64(c)) and any request for oral argument (37 C.F.R.
             § 42.70(a)) by DUE DATE 4.
      5. DUE DATE 5
          a. Each party must file any reply to a petitioner observation on
             cross-examination testimony by DUE DATE 5.
          b. Each party must file any opposition to a motion to exclude
             evidence by DUE DATE 5.
      6. DUE DATE 6
      Each party must file any reply for a motion to exclude evidence by
DUE DATE 6.
      7. DUE DATE 7
      The oral argument (if requested by either party) is set for DUE
DATE 7.

                                      8
  Case 2:17-cv-01322-RSM Document 104-2 Filed 08/28/18 Page 10 of 11
IPR2018-00577
Patent 7,490,416 B2

                                  DUE DATE APPENDIX

DUE DATE 1 .................................................................. November 13, 2018
        Patent owner’s response to the petition
        Patent owner’s motion to amend the patent

DUE DATE 2 ..................................................................... February 13, 2019
        Petitioner’s reply to patent owner’s response to petition
        Petitioner’s opposition to motion to amend

DUE DATE 3 ......................................................................... March 13, 2019
        Patent owner’s reply to petitioner’s opposition to motion to amend

DUE DATE 4 ............................................................................. April 3, 2019
        Motion for observation regarding cross-examination of reply witness
        Motion to exclude evidence
        Request for oral argument

DUE DATE 5 ........................................................................... April 17, 2019
        Response to observation
        Opposition to motion to exclude

DUE DATE 6 ........................................................................... April 24, 2019
        Reply to opposition to motion to exclude

DUE DATE 7 .............................................................................. May 9, 2019
        Oral argument (if requested)




                                                  9
 Case 2:17-cv-01322-RSM Document 104-2 Filed 08/28/18 Page 11 of 11
IPR2018-00577
Patent 7,490,416 B2

PETITIONER:
Darren Donnelly
Jason Amsel
Amy Hayden
Jonathan McMichael
FENWICK & WEST LLP
ddonnelly-ptab@fenwick.com
jamsel-ptab@fenwick.com
ahayden-ptab@fenwick.com
jmcmichael-ptab@fenwick.com


PATENT OWNER:
Steven J. Hampton
Gregory C. Schodde
MCANDREWS, HELD & MALLOY, LTD.
shampton@mcandrews-ip.com
gschodde@mcandrews-ip.com




                                10
